181 F.2d 93
    Albert W. KRAUSEv.William H. HIATT, Warden, United States Penitentiary, Atlanta, Georgia
    No. 13084.
    United States Court of Appeals, Fifth Circuit.
    April 20, 1950.
    Writ of Certiorari Denied June 5, 1950.
    
      See 70 S.Ct. 1010.
      Appeal from the United States District Court for the Northern District of Georgia, M. Niel Andrews, Judge.
      Albert W. Krause, in pro. per.
      J. Ellis Mundy, U. S. Atty., Atlanta Ga., Harvey H. Tisinger, Asst. U. S. Atty., Atlanta, Ga., for appellee.
      Before HUTCHESON, Chief Judge, and McCORD and WALLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The judgment of the lower court is affirmed.
    
    